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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                               10/21/2020

 United States of America,

                –v–
                                                                              19-cr-52 (AJN)
 Edward Pena,
                                                                                 ORDER
                       Defendant.



ALISON J. NATHAN, District Judge:

       The sentencing hearing scheduled for October 26, 2020, is adjourned to November 2,

2020, at 11:00 a.m. The sentencing hearing will proceed remotely. The Court is in receipt of

Mr. Pena’s sentencing submission. The deadline for the Government’s sentencing submission

remains October 22, 2020.


       SO ORDERED.


Dated: October 21, 2020                          __________________________________
       New York, New York                                 ALISON J. NATHAN
                                                        United States District Judge
